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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
WEST END COMMONS, LLC,                 )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendant WEST END COMMONS, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Rome Division, as the parcel of real property at issue in this case is

located in Bartow County, Georgia, and Defendant maintains its registered agent

for service of process in Bartow County, Georgia.

                                      PARTIES

      3.     Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Cartersville,

Georgia (Bartow County).

      4.     Plaintiff is an amputee and is disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant WEST END COMMONS, LLC (hereinafter “Defendant”)

is a Georgia limited liability company, and transacts business in the state of

Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Randy Berrey, 650 Henderson Drive, Suite 440,

Cartersville, Georgia 30120.




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                               FACTUAL ALLEGATIONS

       9.      On or about April 16, 2021, Plaintiff was a customer at “Neena's New

York Style Pizza and Bistro,” a business located at 650 Henderson Drive, Suite

101, Cartersville, Georgia 30120.

       10.     Defendant is the owner or co-owner of the real property and

improvements1 that are the subject of this action.

       11.     Plaintiff lives approximately five (5) miles from the Facilities and

Property.

       12.     Plaintiff’s access to the businesses located at 650 Henderson Drive,

Cartersville, Georgia 30120 (Bartow County Property Appraiser’s parcel number

C022-0004-020), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the

Facilities and Property, including those set forth in this Complaint.

       13.     Plaintiff has visited the Facilities and Property at least once before and


1
 There are multiple separate structures and improvements situated upon said real property. Each
shall be referenced herein as a “Facility” (together, the “Facilities”) and said real property shall
be referenced herein as the “Property.

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intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      15.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to his access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    Each Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

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      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    Each Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in his capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

his disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or


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limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      27.    Plaintiff intends to visit the Facilities and Property again in the future

as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of his disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).


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      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      a.     The total number of accessible parking spaces on the Property

             is inadequate, in violation of section 208.2 of the 2010 ADAAG

             standards.

      b.     Accessible parking spaces are not properly located or

             distributed on the Property, in violation of section 208.3 of the

             2010 ADAAG standards.

      c.     Multiple accessible parking spaces on the Property are not

             located on the shortest accessible route from the accessible

             parking space(s) to the accessible entrances of the Facilities, in


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     violation of section 208.3.1 of the 2010 ADAAG standards.

d.   The accessible parking space on the Property most proximate to

     Unit 507 of the Facilities is missing proper identification

     signage, in violation of section 502.6 of the 2010 ADAAG

     standards.

e.   The access aisle adjacent to the accessible parking space on the

     Property most proximate to Unit 507 of the Facilities is not

     level due to the presence of a ramp within the boundaries of

     said access aisle, in violation of section 502.4 of the 2010

     ADAAG standards.

f.   There is an excessive vertical rise at the base of the accessible

     ramp on the Property most proximate to Unit 507 of the

     Facilities, in violation of section 405.7 of the 2010 ADAAG

     standards, and its side flares have slopes in excess of 1:10 (one

     to ten), in violation of section 406.3 of the 2010 ADAAG

     standards.

g.   The accessible parking space on the Property most proximate to

     Unit 502 of the Facilities is not adequately marked, in violation

     of section 502.1 of the 2010 ADAAG standards.


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h.       The access aisle adjacent to the accessible parking space on the

         Property most proximate to Unit 502 of the Facilities is not

         level due to the presence of a ramp within the boundaries of

         said access aisle, in violation of section 502.4 of the 2010

         ADAAG standards. The side flares of this ramp have slopes in

         excess of 1:10 (one to ten), in violation of section 406.3 of the

         2010 ADAAG standards.

i.       The accessible parking space on the Property most proximate to

         Unit 403 of the Facilities is not adequately marked, in violation

         of section 502.1 of the 2010 ADAAG standards.

j.       The access aisle adjacent to the accessible parking space on the

         Property most proximate to Unit 403 of the Facilities is not

         level due to the presence of a ramp within the boundaries of

         said access aisle, in violation of section 502.4 of the 2010

         ADAAG standards. The side flares of this ramp have slopes in

         excess of 1:10 (one to ten), in violation of section 406.3 of the

         2010 ADAAG standards.

k.       The ground surface within the required maneuvering clearance

         at the door to the entrance of Unit 403 of the Facilities has


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      improper changes in level, in violation of section 404.2.4.4 of

      the 2010 ADAAG standards.

l.    The access aisle adjacent to the accessible parking space on the

      Property most proximate to Unit 301 of the Facilities is not

      level due to the presence of a ramp within the boundaries of

      said access aisle, in violation of section 502.4 of the 2010

      ADAAG standards.

m.    The accessible parking space on the Property most proximate to

      Unit 105 of the Facilities is missing proper identification

      signage, in violation of section 502.6 of the 2010 ADAAG

      standards.

n.    The access aisle adjacent to the accessible parking space on the

      Property most proximate to Unit 105 of the Facilities is not

      level due to the presence of a ramp within the boundaries of

      said access aisle, in violation of section 502.4 of the 2010

      ADAAG standards.

o.    There is an excessive vertical rise at the landing of the

      accessible ramp on the Property most proximate to Unit 105 of

      the Facilities, in violation of section 405.7 of the 2010 ADAAG


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             standards,

      p.     Multiple portions of the accessible route on the Property have a

             cross-slope in excess of 1:48 (one to forty-eight), in violation of

             section 403.2 of the 2010 ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize an accessible parking space

on the Property, more difficult for Plaintiff exit and re-enter his vehicle while on

the Property, more difficult and dangerous for Plaintiff to utilize the ramps

servicing the Property, and more difficult for Plaintiff to travel upon the accessible

routes on the Property.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facilities and Property.

      33.    Plaintiff requires an inspection of Facilities and Property in order to

determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42


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U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.


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      41.   The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facilities and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.


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                                    Dated: May 13, 2021.

                                    Respectfully submitted,

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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